Filed 11/12/13                                  Case 09-31872                                        Doc 24




       1   Antonia G. Darling [State Bar No. 76190]
           Assistant United States Trustee
       2   UNITED STATES DEPARTMENT OF JUSTICE
           Office Of The United States Trustee
       3   501 I Street, Suite 7-500
           Sacramento, California 95814
       4   Telephone: (916) 930-2100
           Facsimile: (916) 930-2099
       5
           Attorneys for the Acting United States Trustee,
       6   Region 17, August B. Landis

       7
                                  UNITED STATES BANKRUPTCY COURT
       8
                                   EASTERN DISTRICT OF CALIFORNIA
       9

      10   IN RE:                                            )   NO: 09-31872-C-7
                                                             )
      11                                                     )   DC No.: UST-1
           LINDA L. BEDROSIAN-WHEELER,                       )
      12                                                     )   CHAPTER 7 PROCEEDING
                                                             )
      13                Debtor.                              )
                                                             )   No hearing requested
      14                                                     )
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      16                 MOTION OF THE UNITED STATES TRUSTEE TO REOPEN CASE
           TO THE HONORABLE CHRISTOPER M. KLEIN, BANKRUPTCY JUDGE:
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                        COMES NOW THE UNITED STATES TRUSTEE, through undersigned counsel,
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           respectfully requesting the Court as follows:
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                        1.     The above-captioned case was filed on June 10, 2009, and Geoffrey
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           Richards was appointed as the Trustee. The Trustee was then relieved by the court when the
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           case was closed on October 6, 2009.
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                        2.     Based upon the attached declaration of Geoffrey Richards, there appears to
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           be good cause to reopen this case to administer additional assets.
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           MOTION OF THE UNITED STATES
           TRUSTEE TO REOPEN CASE                      1
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       1                 3.     As there appear to be assets which need to be liquidated and distributed to

       2   the creditors, the United States Trustee states that a Chapter 7 Trustee will need to be appointed

       3   to protect the interests of the creditors and to insure the efficient administration of the estate.

       4                 WHEREFORE, the United States Trustee prays the Court to ORDER the above-
           captioned case reopened pursuant to 11 U.S.C. 350(b) so that these assets may be
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           administered; and, that the Court find that a Trustee is necessary in this case, and direct that the
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           United States Trustee so appoint a trustee, pursuant to Bankruptcy Rule 5010.
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                         Executed at Sacramento, California on November 12, 2013.
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                                                             Respectfully Submitted,
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      11                                                     __/s/ Antonia G. Darling____________
                                                             ANTONIA G. DARLING
      12                                                     Assistant U.S. Trustee
                                                             Email: Antonia.darling@usdoj.gov
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           MOTION OF THE UNITED STATES
           TRUSTEE TO REOPEN CASE                        2
